Relator, Donald Hall, has filed this original action requesting this court to issue a writ of mandamus ordering respondent, Industrial Commission of Ohio, to vacate its order denying relator R.C. 4123.56(B) wage loss compensation, and to enter an order granting said compensation.
This matter was referred to a magistrate of this court pursuant to Civ.R. 53(C), and Section (M), Loc.R. 12 of the Tenth District Court of Appeals.  The magistrate issued a decision, including findings of fact and conclusions of law, and recommended that this court deny relator's request for a writ of mandamus.  No objections have been filed to that decision.
As there have been no objections filed to the magistrate's decision, and as it contains no error of law or other defect on its face, and based on an independent review of the file, this court adopts the magistrate's decision.
Relator's request for a writ of mandamus is denied.
Writ of mandamus denied.
BRYANT and TYACK, JJ., concur.